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                                CERTIFICATE OF SERVICE

         I hereby certify that on this 11th day of July, 2023, I electronically filed the above and
foregoing Notice of Mortgage Payment Change using the CM/ECF system which sent notification
to all parties of interest participating in the CM/ECF system.

      I further certify that on the 11th day of July, 2023, I mailed a true and correct copy of the
same by U.S. Mail, postage prepaid, first-class, addressed to the following:

               Joel M. Palma
               16247 S Killcreek Rd
               Gardner, Kansas 66030

               Alexandra R. Palma
               16247 S Killcreek Rd
               Gardner, Kansas 66030




                                                     /s/ Aaron O. Martin
                                                     Aaron O. Martin, #24170




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  JOEL PALMA                                                                                         Loan Number:        4043
  ALEXANDRA R PALMA                                                               NEW PAYMENT EFFECTIVE DATE: August 01, 2023

                      COMING YEAR ESCROW ACCOUNT PROJECTIONS AND ACTIVITY HISTORY
Table 1 shows a month by month estimate of the activity we anticipate will occur in your escrow account over the next 12 months. This
table shows the projected low balance point that is used to calculate an escrow shortage or surplus. Table 2 itemizes your actual escrow
account transactions since your previous analysis statement or initial disclosure. Last year's estimates are next to the actual activity. An
asterisk(*) indicates a difference between the estimated and actual payments and disbursements. The letter 'E' beside an amount
indicated that the payment or disbursement has not yet occurred, but is estimated to occur as shown. Please retain this statement for
comparison with the actual activity in your account at the end of the next escrow account computation year. If you have
questions please reach us at 1-888-879-4450.
TABLE 1 - ACCOUNT PROJECTIONS
                                      Payments                  Disbursements                Total        Minimum
     Month         Description         Estimate                  Estimate                    Balance       Required      Difference
                  Beginning Balance                                                           $1,845.41
    August                                703.88                      0.00                     2,549.29      1,407.76      1,141.53
    September                             703.88                      0.00                     3,253.17      1,407.76      1,845.41
    October                               703.88                      0.00                     3,957.05      1,407.76      2,549.29
    November      HAZARD INS              703.88                  1,529.38                     3,131.55      1,407.76      1,723.79
    December      CO TAX 1ST I            703.88                  3,458.60                       376.83      1,407.76     -1,030.93 **
    January                               703.88                      0.00                     1,080.71      1,407.76       -327.05
    February                              703.88                      0.00                     1,784.59      1,407.76        376.83
    March                                 703.88                      0.00                     2,488.47      1,407.76      1,080.71
    April                                 703.88                      0.00                     3,192.35      1,407.76      1,784.59
    May           CO TAX 2ND I            703.88                  3,458.59                       437.64      1,407.76       -970.12
    June                                  703.88                      0.00                     1,141.52      1,407.76       -266.24
    July                                  703.88                      0.00                     1,845.40      1,407.76        437.64

**Low Balance used to determine escrow surplus or shortage.
Federal law (RESPA) allows lenders to maintain a two month cushion in an escrow account. The cushion helps minimize the amount
your escrow account could be overdrawn if tax or insurance payments increase.

TABLE 2 - ESCROW ACTIVITY HISTORY
                                            Payments               Disbursements              Total
    Month         Description          Estimate   Actual         Estimate   Actual            Balance
    History      Beginning Balance                                                            $1,941.82
    August                                642.32     1,284.64 *     0.00           0.00        3,226.46
    September                             642.32         0.00 *     0.00           0.00        3,226.46
    October                               642.32       642.32       0.00           0.00        3,868.78
    November      HAZARD INS              642.32         0.00 * 1,314.46       1,529.38 *      2,339.40
    November      CO TAX 1ST I              0.00         0.00       0.00       3,458.60 *     -1,119.20
    December      CO TAX 1ST I            642.32       642.32   3,196.65           0.00 *       -476.88
    January                               642.32       642.32       0.00           0.00          165.44
    February                              642.32         0.00 *     0.00           0.00          165.44
    March                                 642.32     1,926.96 *     0.00           0.00        2,092.40
    April         CO TAX 2ND I            642.32         0.00 *     0.00       3,458.59 *     -1,366.19
    May           CO TAX 2ND I            642.32       642.32   3,196.65           0.00 *       -723.87
    June                                  642.32     1,926.96 E     0.00           0.00 E      1,203.09
    July                                  642.32       642.32 E     0.00           0.00 E      1,845.41




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